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                                             OFFICE OF THE CLERK
 PATRICIA S. DODSZUWEIT
                                   UNITED STATES COURT OF APPEALS                      TELEPHONE
          CLERK                         21400 UNITED STATES COURTHOUSE                215-597-2995
                                               601 MARKET STREET
                                           PHILADELPHIA, PA 19106-1790
                                       Website: www.ca3.uscourts.gov


                                               August 1, 2022


Roy L. Williams
Phoenix SCI
1200 Mokychic Drive
P.O. Box 244
Collegeville, PA 19426

RE: Roy Lee Williams v. Secretary Pennsylvania Department of Corrections
Case Number: 22-2399
District Court Case Number: 2-21-cv-01248

PACER account holders are required to promptly inform the PACER Service Center of
any contact information changes. In order to not delay providing notice to attorneys or pro
se public filers, your information, including address, phone number and/or email address,
may have been updated in the Third Circuit database. Changes at the local level will not be
reflected at PACER. Public filers are encouraged to review their information on file with
PACER and update if necessary.


To All Parties:

Enclosed is case opening information regarding the above-captioned appeal filed by Roy L.
Williams, docketed at No. 22-2399. All inquiries should be directed to your Case Manager in
writing or by calling the Clerk's Office at 215-597-2995. This Court's rules, forms, and case
information are available on our website at http://www.ca3.uscourts.gov.


On December 1, 2009, the Federal Rules of Appellate and Civil Procedure were
amended modifying deadlines and calculation of time. In particular those
motions which will toll the time for filing a notice of appeal under Fed.R.App.P.
4(a)(4), other than a motion for attorney's fees under Fed.R.Civ.P. 54, will be
considered timely if filed no later than 28 days after the entry of judgment.
Should a party file one of the motions listed in Fed.R.App.P 4(a)(4) after a notice
of appeal has been filed, that party must immediately inform the Clerk of the
         Case:
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Court of Appeals in writing of the date and type of motion that was filed. The
case in the court of appeals will not be stayed absent such notification.

If you cannot afford to pay the fee, within fourteen (14) days you must file:

1) Motion for Leave to Proceed In Forma Pauperis,

2) affidavit of poverty with addendum (form enclosed),

3) authorization for withdrawal of funds (form enclosed),

4) a prison account statement for the 6 month period prior to the filing of the notice of appeal.

If you do not pay the docketing fees or file the Motion for Leave to Proceed In Forma Pauperis
with all necessary forms within fourteen (14) days, your case will be dismissed without further
notice. 3rd Cir. LAR Misc. 107.

If you are unable to obtain the prison account statement from the appropriate officials within the
time stated, you must notify the Clerk.

If the Court denies your motion to proceed in forma pauperis, you will be obligated to pay the
entire $505.00 docketing fee in order for the appeal to proceed. If the Court grants your motion
to proceed in forma pauperis, you will be assessed an initial partial filing fee in accordance with
28 U.S.C. Section 1915(b)(1). After the initial payment, monthly payments shall be made in
accordance with 28 U.S.C. Section 1915(b)(2) until the full $505.00 fee has been collected. Once
you have been granted permission to proceed in forma pauperis, you are obligated to pay the fee
regardless of the outcome of your case, even if you choose to withdraw your appeal.

The requirements for filing an appearance form, disclosure statement, and civil appeal
information statements are waived for pro se litigants.

Counsel for Appellee:

As counsel for Appellee(s), you must file:
1. Application for Admission (if applicable);
2. Appearance Form
3. Disclosure Statement (except governmental entities)
These forms must be filed within fourteen (14) days from the date of this letter.




Enclosures:
Caption
Affidavit of Poverty (for Appellant's use only)
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Addendum (for Appellant's use only)
Authorization to Withdraw Funds (for Appellant's use only)



For the Court,

s/ Patricia S. Dodszuweit,
Clerk

s/ pdb for Kr Case Manager
267-299-4911

cc:
Kathy Le
